UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NIKE, INC.,

                                            Plaintiff,                22-CV-00983 (VEC)(SN)

                          -against-                                            ORDER

STOCKX, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        Plaintiff moves to compel Defendant to produce three categories of discovery. ECF No.

135. Defendant has agreed to produce further documents in response to the second category, and

otherwise opposes the motion. ECF No. 140. Plaintiff’s letter motion is DENIED in full, with

leave to refile as to Plaintiff’s second request.

        Plaintiff seeks documents related to an internal investigation conducted by Defendant in

connection with a particular buyer. Defendant contends that this investigation was directed

through litigation counsel and is therefore privileged. Defendant’s privilege invocation is proper.

These documents were created at the request of counsel in preparation for litigation and were

explicitly segregated from Defendant’s normal procedures.

        Plaintiff additionally seeks documents related to a particular authentication process of

Defendant that was introduced in the “summer of 2022.” The parties have previously stipulated

to a Relevant Time Period of July 1, 2020-May 25, 2022. Accordingly, documents concerning

this authentication process are outside of the agreed upon period. Plaintiff further has not
established good cause to exceed this time limitation because it has not demonstrated a

compelling need for this information.

       To the extent the parties are unable to resolve the dispute in connection with the second

category of documents, Plaintiff may renew its application.

SO ORDERED.



                                                    SARAH NETBURN
                                                    United States Magistrate Judge
DATED:         March 23, 2023
               New York, New York
